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Entered: October 3rd, 2023
Signed: October 3rd, 2023

SO ORDERED




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                                 at Baltimore

         In re:                                  *
                                                 *
         Roman Catholic Archbishop of Baltimore, * Case No. 23-16969-MMH
                                                 *
                                    Debtor.      * Chapter 11
                                                 *
         *    *       *     *       *      *     * *      *      *    *                      *       *
                         ORDER SETTING 2023 OMNIBUS HEARING DATES

                   For purposes of judicial economy, and pursuant to the inherent authority of the Court to

         manage its docket, all matters filed in this case (whether filed by the Debtor or any other party in

         interest) will be heard on designated Omnibus Hearing Dates, unless otherwise ordered by the

         Court. Accordingly, it is, by the United States Bankruptcy Court for the District of Maryland,

                   ORDERED, that the Omnibus Hearing Dates in 2023 are as follows:

                             1. November 6, 2023, at 10:00 a.m.

                             2. November 27, 2023, at 10:00 a.m.

                             3. December 4, 2023, at 10:00 a.m.

                             4. December 18, 2023, at 10:00 a.m.;

         and it is further,
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        ORDERED, that all Omnibus Hearings will be held in-person in Courtroom 9-C in

Baltimore, unless otherwise ordered by the Court, and will be governed by the Court’s protocols

to be entered separately on the docket; and it is further

        ORDERED, that, with respect to any motion or pleading filed in this chapter 11 case, the

moving party shall file and serve a notice that (i) selects an Omnibus Hearing Date from this Order,

and (ii) provides a response deadline in accordance with all applicable Federal or Local Bankruptcy

Rules; and it is further

        ORDERED, that the Debtor shall file and serve on all parties entitled to service under the

applicable Federal or Local Bankruptcy Rules a Notice of Proposed Hearing Agenda for each

Omnibus Hearing; such notice shall be filed and served on or before 12:00 p.m., ET, on the

Friday prior to the relevant Omnibus Hearing and shall identify (i) the matters going forward,

(ii) the matters being continued, and (iii) the matters being resolved by consent or withdrawn from

the docket.



cc:     All Parties




                                         END OF ORDER




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